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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

JAMES HARPER                                  :
                                              :       CIVIL ACTION NO.: 1-20-cv-00771
                                              :
                       Plaintiff,             :       COMPLAINT
                                              :
               v.                             :       JURY TRIAL DEMANDED
                                              :
CHARLES P. RETTIG,                            :
IN HIS OFFICIAL CAPACITY AS                   :
COMMISSIONER                                  :
INTERNAL REVENUE SERVICE,                     :
                                              :
               &                              :
                                              :
INTERNAL REVENUE SERVICE,                     :
                                              :
               &                              :
                                              :
JOHN DOE IRS AGENTS 1-10,                     :
                                              :
                                              :
                       Defendants.            :

  NOTICE OF FILING AMENDED COMPLAINT UNDER FED. R. CIV. P. 15(a)(1)(A)

       Plaintiff hereby gives notice of filing an Amended Complaint under Fed. R. Civ. P.

15(a)(1)(A) “as a matter of course within … 21 days after servi[ce]” of the Complaint (ECF No.

1). Under Rule 15(a)(1), it is not necessary for the Plaintiff to secure opposing party’s written

consent or the Court’s leave to file an amended complaint once as a matter of course. The

District of New Hampshire Local Rule 15.1 also does not require the Plaintiff to file a motion for

leave to file an amended complaint pursuant to Fed. R. Civ. P. 15(a)(1)(A).

       Plaintiff filed the Complaint (ECF No. 1) on July 15, 2020. This notice, the

accompanying Amended Complaint, and exhibits attached thereto, are filed and served within 21

days of serving the original Complaint. Plaintiff has filed no other amended complaint in this
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case. The Defendants have not filed any responsive pleading or a motion to dismiss to render

Fed. R. Civ. P. 15(a)(1)(A) inapposite in this case.

       The Amended Complaint complies with Local Rule 15.1(b) because it “reproduce[s] the

entire filing as amended and [does] not incorporate any prior filing by reference.”

August 5, 2020

                                                             Respectfully submitted.

                                                             Jared Bedrick
                                                             Douglas, Leonard & Garvey, P.C.
                                                             14 South Street
                                                             Concord, NH 03301
                                                             N.H. Bar No. 20438
                                                             (603)224-1988
                                                             jbedrick@nhlawoffice.com

                                                             Caleb Kruckenberg*
                                                             Litigation Counsel
                                                             Aditya Dynar*
                                                             Litigation Counsel
                                                             New Civil Liberties Alliance
                                                             1225 19th St. NW, Suite 450
                                                             Washington, DC 20036
                                                             (202) 869-5230
                                                             caleb.kruckenberg@ncla.legal
                                                             adi.dynar@ncla.legal
                                                             *Applications for Admission Pro
                                                             Hac Vice to be filed




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